IN THE SUPREME COURT OF TEXAS


                                 No. 06-0107


                              IN RE  RON SMITH


        On Motion Pursuant to Texas Rule of Appellate Procedure 24.4


ORDERED:

      1.    Movant's emergency motion for temporary relief,  filed  February
9, 2006, is granted only insofar as it seeks a stay of  the  enforcement  of
the trial court's Final Amended Judgment.  Post-judgment  discovery  is  not
stayed.  The trial court's order Setting Aside Defendants' Cash in  Lieu  of
Bond to Suspend Enforcement of Judgment, dated October 14,  2005,  in  Cause
No. 2002-60191-393, styled Richard Honaker and Ginger Honaker v. Main  Place
Custom Homes, Inc., Stonebriar Residential Joint Venture,  a  Texas  General
Partnership, Residential, LTD., Hillwood Property  Company,  formerly  known
as Hillwood Clubs, Inc., Marc Wilson d/b/a  Texas  Green,  Larry  F.  Smith,
Inc., Ron Smith and Chubb Lloyds Insurance Company of Texas,  in  the  393rd
Judicial District Court of Denton County, Texas, is stayed  pending  further
order of this Court.
      2.    The motion pursuant to Texas Rule of  Appellate  Procedure  24.4
remains pending before this Court.

            Done at the City of Austin, this March 9, 2006.
                                  [pic]
                                  Andrew Weber, Clerk
                                  Supreme Court of Texas


                                  By Gena Pelham, Deputy Clerk


